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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE


In re                                                        Chapter 11

OPEN ROAD FILMS, LLC, a Delaware                             Case No.: 18-12012 (LSS)
limited liability company, et al.,1
                                                             (Jointly Administered)
                          Debtors.


             SUBMISSION OF AFFIDAVITS OF PUBLICATION REGARDING
                    NOTICE OF AUCTION AND SALE HEARING

        Attached hereto as Exhibit 1 is the affidavit of publication regarding the Notice of

Auction and Sale Hearing (the “Notice”) that was published in the national edition of USA Today

on October 15, 2018.

        Attached hereto as Exhibit 2 is the certificate of publication of the Notice that was

published in Variety on October 16, 2018.

Dated: October 18, 2018
       Wilmington, Delaware

/s/ Shane M. Reil
Michael R. Nestor, Esq. (Bar No. 3526)               Michael L. Tuchin, Esq.
Robert F. Poppiti, Jr., Esq. (Bar No. 5052)          Jonathan M. Weiss, Esq.
Ian J. Bambrick, Esq. (Bar No. 5455)                 Sasha M. Gurvitz, Esq.
Shane M. Reil, Esq. (Bar No. 6195)                   KLEE, TUCHIN, BOGDANOFF & STERN LLP
YOUNG CONAWAY STARGATT & TAYLOR, LLP                 1999 Avenue of the Stars, 39th Floor
Rodney Square                                        Los Angeles, CA 90067
1000 North King Street                               Tel: (310) 407-4000
Wilmington, Delaware 19801                           Fax: (310) 407-9090
Tel: (302) 571-6600
Fax: (302) 571-1253
                           Counsel to the Debtors and Debtors in Possession


1
    The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
    Open Road Films, LLC (4435-Del.); Open Road Releasing, LLC (4736-Del.); OR Productions LLC
    (5873-Del.); Briarcliff LLC (7304-Del.); Open Road International LLC (4109-Del.); and Empire Productions
    LLC (9375-Del.). The Debtors’ address is 2049 Century Park East, 4th Floor, Los Angeles, CA 90067.
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MONEY                                                                                                                      USA TODAY ❚ MONDAY, OCTOBER 15, 2018 ❚ 5B



STATE-BY-STATE                                                                                                                                   News from across the USA




ALABAMA Birmingham: The U.S.                    ILLINOIS Marion: Former Ecclesia              MISSOURI Sedalia: State Fair offi-      PENNSYLVANIA Pittsburgh: Whole
Senate has confirmed Liles Burke of             College President Oren Paris, sen-            cials say 340,957 people attended       Foods Market home delivery is now
Arab to serve as a federal judge for            tenced to three years for a kickback          this year’s event.                      available in the city.
the state’s northern district.                  scheme, has reported to a medium-
                                                                                              MONTANA Billings: Six more coun-        RHODE ISLAND Providence: Rhode
                                                security federal prison.
ALASKA Anchorage: An Air Force                                                                ties are requiring ranchers to vacci-   Island Public Radio has changed its
F-22 Raptor made an emergency                   INDIANA Albion: Police apprehend-             nate cattle against brucellosis.        name to The Public’s Radio.
landing. The pilot was not injured.             ed Charles Lee Wiedman, who who
                                                                                              NEBRASKA Lincoln: The State             SOUTH CAROLINA Walterboro: Au-
                                                was mistakenly released two weeks
ARIZONA Phoenix: A shelter for un-                                                            Troopers Association of Nebraska is     thorities say a 19-year-old intention-
                                                early from the Noble County Jail.
accompanied migrant children was                                                              endorsing Democratic gubernatorial      ally shot his cousin for eating his
closed because of physical abuse by             IOWA Iowa City: Nine University of            candidate Bob Krist.                    potato chips but lied and called it an
staff, federal officials say.                   Iowa fraternities have been sus-                                                      accidental shooting. The shooter was
                                                                                              NEVADA Las Vegas: Billboards
                                                pended for violating a moratorium                                                     charged with attempted murder.
ARKANSAS Little Rock: The state                                                               seeking tips about human traffick-
                                                on alcohol at parties.
Supreme Court has upheld a voter ID                                                           ing are being replaced with signs       SOUTH DAKOTA Sioux Falls: South
law nearly identical to a restriction it        KANSAS Wichita: A middle school’s             seeking information about distribu-     Dakota will receive $573,488 from a
struck down four years ago.                     officials are raising concerns about          tion of opioid painkillers.             national settlement against Uber
                                                trains stalling, leading students to                                                  even though the ride-hailing service
CALIFORNIA Los Angeles: Antiques                                                              NEW HAMPSHIRE Hanover: Amid a
                                                crawl under boxcars to get home.                                                      isn’t available in the state.
dealer Anthony James Buccola has                                                              spike in reports of hazing at Dart-
received three years of probation and           KENTUCKY Elizabethtown: Car                   mouth College, the school hired an      TENNESSEE Nashville: FedEx Ground
a $20,000 fine for selling ivory tusks.         parts manufacturer Metalsa is ex-             investigator to look at groups in-      plans to hire 4,300 positions for the
                                                panding its plant, creating roughly           cluding fraternities and sororities.    holiday season.
COLORADO Denver: Kaiser Perma-
                                                250 jobs.
nente Colorado says rising health                                                             NEW JERSEY Jersey City: Nimbus          TEXAS Houston: Two men have been
costs are to blame for the insurer’s            LOUISIANA Baton Rouge: The state              Dance Works says its new arts cen-      banned from a gun range for life after
$65 million loss over three years.              is voiding a multimillion-dollar con-         ter will feature a 150-seat black box   one pointed an unloaded gun at the
                                                tract award to replace voting ma-             theater, studio and rehearsal space.    other while taking a picture.
CONNECTICUT Hartford: The num-
                                                chines after flaws were found in the
ber of high school students who were                                                          NEW MEXICO Albuquerque: State           UTAH Logan: A U.S. Army Reserve
                                                vendor selection.
vaping went from 7.2 percent in 2015                                                          officials say tourism accounted for a   unit – the 890th Inland Cargo Trans-
to 15 percent in 2017.                          MAINE Augusta: Traffic ticket vio-            $6.6 billion boost to New Mexico’s      fer Co. – is deploying to Kuwait.
                                                lations will soon be available online         economy last year.
DELAWARE Dover: Mike Matthews,                                                                                                        VERMONT Burlington: The Catholic
                                                as part of a new $15 million elec-
president of Delaware’s teachers                                                              NEW YORK Albany: Personnel and          Diocese of Burlington will release a
                                                tronic court filing system.
union, has resigned over blog posts                                                           equipment from the New York Na-         list of priests accused of sexually
offensive to women and Muslims.                 MARYLAND Baltimore: Lyft part-                tional Guard were dispatched to         abusing children, Bishop Christopher
                                                nered over the weekend with brew-             Florida and Mississippi to help with    Coyne says.
DISTRICT OF COLUMBIA: Mayor Mu-
                                                eries, wineries and distilleries              the response to Hurricane Michael.
riel Bowser is looking to hire a “night                                                                                               VIRGINIA Fairfax: The state issued
                                                across the state to offer free and
mayor” to manage the district’s after-                                                        NORTH CAROLINA Raleigh: The             more than 16,000 REAL ID licenses in
                                                discounted rides.
hours economy, issues and trends.                                                             University of North Carolina at Cha-    the first 10 days of offering them.
                                                MASSACHUSETTS Amherst: The                    pel Hill’s chancellor apologized for
FLORIDA Orlando: Orlando Rolon has                                                                                                    WASHINGTON Yakima: U.S. Senate
                                                ACLU says it is representing a black          the school’s history of slavery.
become the city’s first Hispanic po-                                                                                                  has backed a plan to build a tribal
                                                University of Massachusetts em-
lice chief.                                                                                   NORTH DAKOTA Mandan: Police             village along the Columbia River for
                                                ployee who was reported to police
                                                                                              say a naked man who was high on         families not compensated for the loss
GEORGIA South Fulton: The city has              while walking into work “very ag-
                                                                                              drugs climbed into the holy water       of their homes when dams were built.
offered residents a $50 discount from           itated” and with a “large duffel bag.”
                                                                                              font and then walked down the aisle
citations for registering to vote or            He’d just come from the gym.                                                          WEST VIRGINIA Morgantown: Oper-
                                                                                              performing a lewd act during Mass.
confirming their voter status.                                                                                                        ation Walk USA will provide free joint
                                                MICHIGAN Ann Arbor: Union
                                                                                              OHIO Columbus: The Ohio Air Na-         replacements at West Virginia Uni-
HAWAII Honolulu: Mayor Kirk Cald-               nurses ratified a three-year contract
                                                                                              tional Guard has its first female       versity Medicine on Dec. 6.
well signed laws banning the home-              with the University of Michigan.
                                                                                              brigadier general after the promo-
less from sleeping or living on side-                                                                                                 WISCONSIN Franklin: More than 300
                                                MINNESOTA Minneapolis: Police                 tion of Col. Rebecca O’Connor.
walks, but it won’t take effect until                                                                                                 hardwood trees at the Wehr Nature
                                                squad cars will soon display signs
the city can shows how it’s going to                                                          OKLAHOMA Ardmore: The state             Center died after a weedkiller was
                                                that advise immigrants of their
deal with the homeless crisis.                                                                Department of Veterans Affairs          sprayed in the woods, officials say.
                                                rights if arrested.
                                                                                              plans to build a new veterans center
IDAHO Lewiston: Environmental                                                                                                         WYOMING Cheyenne: The Wyoming
                                                MISSISSIPPI Hattiesburg: Davis                to replace the existing one.
groups that want the state to close                                                                                                   Lottery has shared another $1.4 mil-
                                                Timber Co., targeted for cleanup
steelhead fishing have filed a 60-day                                                         OREGON Portland: Portland has           lion of its earnings with local coun-
                                                nearly two decades ago, has been
notice of intent to sue.                                                                      been named the “Best Foodie City”       ties, cities and towns.
                                                taken off the EPA’s Superfund list.
                                                                                              in the United States by WalletHub.         From staff and wire reports




More tails wag as breweries
serve special ‘beer’ for dogs
Ryan W. Miller
USA TODAY


   When Megan and Steve Long’s
Rottweiler mix, Rocky, started having
digestion problems, the couple needed
a way to help him keep his food down.
   Megan scoured the internet looking
for remedies, but none seemed to do
the trick.
   “I’m not a crazy dog lady. I just really
wanted to prolong my boy’s life,” she
said.
   Then she stumbled upon a solution
she could brew: “beer” for dogs – a           Good Boy Dog Beer sells three different
nonalcoholic beverage packed with             beers throughout Houston, with plans
healthful ingredients for pooches.            for a fourth. GOOD BOY DOG BEER
Fast-forward nearly a year, and Good
Boy Dog Beer company sells three dif-
ferent beers throughout Houston in            spices, but all three also have turmeric –
more than 20 dog-friendly restaurants         an ingredient Long said is “amazing” for
and bars.                                     dog digestion. All the brews Good Boy
   And they’re not alone. Across the          Dog Beer serves feature all-natural ingre-
U.S., dog “breweries” have sprouted up        dients, she said.
in the past 10 years crafting beverages          “We only use spices that are 100 per-
for dogs that allow owners to share a         cent friendly to dogs and have a health
cold one with their pet while also giv-       benefit,” Long said.
ing them a nutritious treat.                     Among the other companies selling
   Long and her husband were already          dog beer in the United States: Happy Dog
in the bar and restaurant business in         Beer Co. in Montana, Pet Winery in Flori-
Houston before they first brewed a            da and Apollo Peak in Colorado.
batch for Rocky. After a few friends             Jenny Brown, CEO of Bowser Beer
asked for some, they saw a business           based in Seattle, said the brews aren’t
opportunity.                                  just a fad.
   They call it beer “because we use a           “It’s not just a seasonal or gifty thing,”
lot of the same equipment a brewery           she said. “A lot of people use it as an ev-
does. We just skip the fermentation           eryday food topping.”
process,” Long said.                             Brown, who founded her company in
   Since starting Good Boy Dog Beer in        2007 and soon began making one of the
August, the couple has shipped batch-         only dog beers that she knew of in the
es to other states and plans to intro-        United States, now sells her brew in more
duce a fourth beer to the lineup:             than 600 pet stores, restaurants and bars
“Crotch Sniffin’ Ale,” made with unsalt-      around the country. She’s looking to ex-
ed peanuts and almonds, whole grain           pand, too, after she said Bowser Beer
oats, cinnamon and water. The brews           doubled its sales last year.
can be served on their own or poured             Given how people invest in their dogs,
over food to soften it – that’s how           Brown thinks growth will continue. In
Rocky uses it for digestion help, Long        2017, Americans spent almost $70 billion
said. The drinks, which sell for $5 a         on their pets and $29 billion of that on
can, are not meant to replace a full          food, according to the not-for-profit
meal, she added. Long said dogs have          American Pet Products Association. In
loved it, but for humans, it tastes bland     2007, overall expenditures were at just
because there’s no salt.                      $41 billion, according to the trade associ-
   “IPA lot in the yard,” “Session ...        ation.
Squirrel!” and “Mailman Malt Licker”             “The truth is people love doing things
contain various vegetables, meats and         with their dogs,” Brown said.
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                                                                                                                                                                                                                                                        Wing Man
                   ginal, to entice viewers.
                                                                                                                                                                                                                                                        Peter
                       “My Dinner With Hervé,”                                                                                                                                                                                                          Dinklage
                   HBO’s film about a late-in-life                                                                                                                                                                                                      and Jamie
                   Villechaize, isn’t quite a recla-                                                                                                                                                                                                    Dornan
                                                                                                                                                                                                                                                        star in “My
                   mation project. It doesn’t do                                                                                                                                                                                                        Dinner With
                   enough to center his story, focus-                                                                                                                                                                                                   Hervé.”
                   ing instead on how the star
                   changed a journalist’s life. But it
                   will begin to make you see Vil-
                   lechaize in a new light, not least
                   because of Peter Dinklage’s per-
                   formance. Dinklage inhabits the
                   late actor’s unique diction and
                   the ballistic energy he brought
                   to his performances and, later,
                                                                                                                                                                                                                                                        CREDITS:
                   to annihilating himself. It’s a                                                                                                                                                                                                      Executive produc-
                                                                                                                                                                                                                                                        ers: Steven Zaillian,
                   turn that’s sensitively calibrated                                                                                                                                                                                                   Richard Middle-
                                                                                                                                                                                                                                                        ton, Ross Katz, Jes-
                   despite its mania.                                                                                                                                                                                                                   sica de Rothschild.
                                                                                                                                                                                                                                                        106 MIN.
                       That mania builds over time.                                                                                                                                                                                                     Cast: Peter Din-
                                                                                                                                                                                                                                                        klage, Jamie
                   First, Dinklage’s Hervé enters the                                                                                                                                                                                                   Dornan, David
                                                                                                                                                                                                                                                        Strathairn, Andy
                   story through a side door. Jour-                                                                                                                                                                                                     Garcia, Mireille
                                                                                                                                                                                                                                                        Enos, Harriet Wal-
                   nalist Danny Tate (Jamie Dornan)                                                                                                                                                                                                     ter, Oona Chaplin
                   visits Los Angeles to interview
                   Gore Vidal and gets assigned a
                   quick check-in with the fallen        less career opportunities, thanks                                        The protagonist of “Hervé” isn’t                                            three-dimensional depictions of
                   actor while there. It’s meant as a    in part to an ever-incrementally                                         Hervé but Danny. Using the                                                  people who look like Villechaize
                   brief grotesque to pad out a mag-     improving Hollywood that found                                           actor’s broken-down charisma,                                               and like Dinklage. The movie
                   azine, but Hervé is so hungry         itself ready to embrace his tal-                                         flashing throughout an end-                                                 ought to have given Villechaize
                   for company that he monopo-           ent. That he isn’t quite able to                                         less interview, to refract Danny’s                                          pride of place in his own tale,
                   lizes Danny for hours, making the     turn Hervé into a fully rounded                                          journey and give him greater                                                allowing him not to teach a les-
                   Vidal interview an impossibility.     character is the fault of the film,                                      confidence misses the real story.                                           son but to live his extraordinary
                   Danny can’t help being drawn to       written and directed by Sacha                                            Dinklage’s rise, as Tyrion Lannis-                                          life. But Hervé, despite his will-
                   Hervé out of some combination         Gervasi and based on his own                                             ter on “Thrones” and elsewhere,                                             ingness to speak, remains elusive
                   of sympathy, journalistic curiosity   experience with Villechaize.                                             proves there is a hunger for                                                even now.
                   and vicarious thrill. As an alco-
                   holic in recovery, he sees in Hervé
                   a mirror for his appetites.
                                                                         UNITED STATES BANKRUPTCY COURT, DISTRICT OF DELAWARE                                         Glendale, California, Attn: Joseph A. Kohanski, Esq., and David E. Ahdoot, Esq., Email: kohanski@
                       The story Danny uncovers            In re                                            Chapter 11                                                bushgottlieb.com and dahdoot@bushgottlieb.com and (VIII) the Ofﬁce of the United States Trustee
                   through an interview that barely        OPEN ROAD FILMS, LLC, a Delaware                 Case No.: 18-12012 (LSS)                                  for the District of Delaware, 844 King Street, Suite 2207, Wilmington, Delaware, 19801, Attn: Linda
                                                           limited liability company, et al.,  1
                                                                                                            (Jointly Administered)                                    Richenderfer, Esq., email: linda.richenderfer@usdoj.gov. UNLESS AN OBJECTION IS TIMELY
                   requires questions — the free-                                          Debtors.         Ref. Docket Nos. 9 and 160                                SERVED AND FILED IN ACCORDANCE WITH THIS NOTICE, IT MAY NOT BE CONSIDERED BY THE
                                                                                                                                                                      BANKRUPTCY COURT, AND THE BANKRUPTCY COURT MAY GRANT THE RELIEF REQUESTED
                   wheeling subject needs little                                    NOTICE OF AUCTION AND SALE HEARING
                                                                                                                                                                      WITHOUT FURTHER HEARING AND NOTICE.
                                                          PLEASE TAKE NOTICE OF THE FOLLOWING:                                                                           7. Parties interested in receiving more information regarding the sale of the Purchased Assets
                   inducement to tell his story —             1. On September 6, 2018, Open Road Films, LLC and its debtor afﬁliates, as debtors and                  and/or copies of any related document, including the Form APA, the Bid Procedures Motion, or the
                                                          debtors in possession (collectively, the “Debtors”), each ﬁled voluntary petitions for relief pursuant
                   is less “Where is he now?” than        to Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”).
                                                                                                                                                                      Bid Procedures Order, may make a written request to: (i) co-counsel for the Debtors, Klee, Tuchin,
                                                                                                                                                                      Bogdanoff & Stern LLP, 1999 Avenue of the Stars, 39th Floor, Los Angeles, California 90067, Attn:
                   “How did he get here?” We see              2. On September 6, 2018, the Debtors ﬁled a motion [Docket No. 9] (the “Bid Procedures
                                                          Motion”), pursuant to sections 363 and 365 of the Bankruptcy Code and Bankruptcy Rules 2002,
                                                                                                                                                                      Jonathan M. Weiss, Esq., Email: jweiss@ktbslaw.com; or (ii) co-counsel for the Debtors, Young
                                                                                                                                                                      Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington, Delaware
                   Hervé’s youth, his breakout in         6004, and 6006, seeking entry of an order (the “Bid Procedures Order”)2 (a) scheduling an auction           19801, Attn: Robert F. Poppiti, Jr., Esq., Email: rpoppiti@ycst.com. In addition, copies of the Bid
                                                          (the “Auction”) for the sale of substantially all of the Debtors’ assets (the “Purchased Assets”) for       Procedures Motion, the Bid Procedures Order and this Notice are on ﬁle with the Clerk of the
                   the Bond film “The Man With            November 7, 2018 and a hearing to approve the sale of the Purchased Assets (the “Sale Hearing”)             Bankruptcy Court, Third Floor, 824 Market Street, Wilmington, Delaware 19801, and available for
                                                          for November 9, 2018; (b) approving procedures (the “Bid Procedures”) for submitting competing
                   the Golden Gun” and his time on        bids for the Purchased Assets, (c) approving the form and manner of the notice of the Auction
                                                                                                                                                                      download on the dedicated website of the claims and noticing agent for the Chapter 11 Cases,
                                                                                                                                                                      Donlin, Recano & Company, Inc., at https://www.donlinrecano.com/Clients/orf/Index, by clicking
                   Aaron Spelling’s soap, in which        and the Sale Hearing; and (d) approving procedures for the assumption, assignment and sale of
                                                          Contracts to any purchaser(s) of the Purchased Assets, and/or to resolve any objections thereto.
                                                                                                                                                                      on the tab “Sale Related Documents.” To the extent that the Debtors enter into a Stalking Horse
                                                                                                                                                                      Agreement, the Stalking Horse Agreement and the Stalking Horse Agreement Notice will also be
                   his lifelong craving to be under-          3. On October 9, 2018, the United States Bankruptcy Court for the District of Delaware entered          available on the “Sale Related Documents” tab.
                                                          the Bid Procedures Order [Docket No. 160]. Pursuant to the Bid Procedures Order, if the Debtors                8. The Bid Procedures Order sets forth in detail the requirements for submitting a Qualiﬁed Bid
                   stood curdles into resentment          receive any Qualiﬁed Bids for the Purchased Assets, the Auction shall take place on November 7,             for the Purchased Assets, and any person interested in making an offer to purchase the Purchased
                                                          2018 at 10:00 a.m. (Eastern Time) at a location to be identiﬁed in advance of the Auction. Only
                   at not being treated like the star     parties that have submitted a Qualiﬁed Bid, as set forth in the Bid Procedures Order, by no later
                                                                                                                                                                      Assets must comply with the Bid Procedures Order. Any persons interested in making an offer to
                                                                                                                                                                      acquire the Purchased Assets should contact FTI Consulting, Inc., via Amir Agam, at Amir.Agam@
                   he knows he is. (Andy Garcia, as       than November 2, 2018 at 5:00 p.m. (Eastern Time) (the “Bid Deadline”) may bid at the Auction.
                                                          Any party that wishes to take part in this process and submit a bid for the Purchased Assets must
                                                                                                                                                                      FTIConsulting.com, and Luke Schaeffer, at Luke.Schaeffer@FTIConsulting.com.
                                                                                                                                                                         9. For ease of reference, the following is a summary of certain dates and deadlines established
                   Ricardo Montalbán, frustrated          submit their competing bid prior to the Bid Deadline and in accordance with the Bid Procedures.             pursuant to the Bid Procedures Order. The Debtors encourage parties-in-interest to review the Bid
                                                              4. This Notice of Auction and Sale Hearing is subject to the fuller terms and conditions of the         Procedures Order in its entirety, as the below summary is not intended to be exhaustive.
                   in his attempts to help, provides      Bid Procedures Motion and the Bid Procedures Order, with such Bid Procedures Order controlling in
                                                          the event of any conﬂict, and the Debtors encourage parties-in-interest to review such documents            November 2, 2018 at 4:00 p.m. (ET)       Deadline to object to the Debtors’ assumption and
                   a painful glimpse at the sup-          in their entirety. More information is provided below on how to obtain copies of such documents.                                                     assignment of executory contracts and unexpired
                                                              5. The Sale Hearing to consider approval of the sale of the Purchased Assets to the Winning                                                      leases in connection with the sale of the Purchased
                   port Hervé spurned.) The con-          Bidder at the Auction, free and clear of all liens, claims and encumbrances, will be held before the                                                 Assets (other than regarding adequate assurance of
                                                                                                                                                                                                               future performance)
                   trast between star and charac-         Honorable Laurie Selber Silverstein, United States Bankruptcy Judge, 824 North Market Street,
                                                                                                                                                                      November 2, 2018 at 5:00 p.m. (ET)       Deadline to submit a bid for the Purchased Assets
                                                          Wilmington, Delaware 19801, 6th Floor, Courtroom #2, on November 9, 2018 at 10:00 a.m.
                   ter couldn’t be more marked.           (Eastern Time), or at such other time thereafter as counsel may be heard. The Sale Hearing may              November 2, 2018 at 4:00 p.m. (ET)       Deadline to object to the sale of the Purchased Assets
                                                          be adjourned from time to time without further notice to creditors or parties in interest other than
                   Dinklage’s casting on “Game of         by announcement of the adjournment in open court on the date scheduled for the Sale Hearing or in
                                                                                                                                                                      November 7, 2018 at 10:00 a.m. (ET) Auction for the Purchased Assets
                                                          the applicable hearing agenda.                                                                              November 7, 2018 at 4:00 p.m. (ET)       Deadline to object to adequate assurance of future
                   Thrones” seems a landmark in
                                                                                                                                                                                                                                                                                VARIETY.COM




                                                              6. Objections to the (i) sale, if any (the “Sale Objections”) and (ii) results of the Auction, if any                                            performance with respect to the Debtors’ assumption
                                                                                                                                                                                                               and assignment of executory contracts and
                   comparison — creating a char-          (the “Auction Objections”) must: (a) be in writing; (b) comply with the Bankruptcy Rules and Local
                                                                                                                                                                                                               unexpired leases in connection with the sale of the
                                                          Rules; and (c) be ﬁled with the clerk of the Bankruptcy Court for the District of Delaware, Third
                                                                                                                                                                                                               Purchased Assets
                   acter in fantasy who was bol-          Floor, 824 North Market Street, Wilmington, Delaware 19801, in the case of the Sale Objections,
                                                          on or before November 2, 2018 at 4:00 p.m. (Eastern Time) (the “Sale Objection Deadline”)                   8:30 a.m. (ET) on the day of the hearing Deadline to object to the results of the Auction (and
                   stered by his own desires, rather      and, in the case of the Auction Objections, on or before 8:30 a.m. (Eastern Time) on the day of             of the sale of the purchased assets      deadline for Committee to object to the sale)
                                                          the Sale Hearing (the “Auction Objection Deadline”) (provided, that solely in respect of any Sale           November 9, 2018 at 10:00 a.m. (ET) Hearing on the sale of the Purchased Assets
                   than a neutered assistant. Much        Objection(s) ﬁled by the Ofﬁcial Committee of Unsecured Creditors, any such Sale Objection(s) may
                                                                                                                                                                      Dated: October 10, 2018, Wilmington, Delaware, YOUNG CONAWAY STARGATT & TAYLOR, LLP,
                   of that has to do with Dinklage’s      be ﬁled on or before the Auction Objection Deadline), and be served upon (I) Open Road Films, LLC,
                                                          2049 Century Park East, 4th Floor, Los Angeles, CA 90067, Attn: James Ellis, Email: jellis@tangmp.          /s/ Ian J. Bambrick    , Michael R. Nestor, Esq. (Bar No. 3526), Robert F. Poppiti, Jr., Esq. (Bar No.
                   Emmy-winning performance,
                                                                                                                                                                                                                                                                                OCTOBER 16, 2018




                                                          com; (II) co-counsel for the Debtors, Klee, Tuchin, Bogdanoff & Stern LLP, 1999 Avenue of the Stars,        5052), Ian J. Bambrick, Esq. (Bar No. 5455), Rodney Square, 1000 North King Street, Wilmington,
                                                          39th Floor, Los Angeles, California 90067, Attn: Michael L. Tuchin, Esq. and Jonathan M. Weiss,             Delaware 19801, Tel: (302) 571-6600, Fax: (302) 571-1253 -and- KLEE, TUCHIN, BOGDANOFF
                   which allows him to act out all        Email: mtuchin@ktbslaw.com and jweiss@ktbslaw.com; (III) co-counsel for the Debtors, Young                  & STERN LLP, Michael L. Tuchin, Esq., Jonathan M. Weiss, Esq., Sasha M. Gurvitz, Esq., 1999
                                                          Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington, Delaware                 Avenue of the Stars, 39th Floor, Los Angeles, CA 90067, Tel: (310) 407-4000, Fax: (310) 407-
                   the emotions felt by a person          19801, Attn: Michael Nestor, Esq. and Robert F. Poppiti, Jr., Esq., Email: mnestor@ycst.com and             9090, COUNSEL TO THE DEBTORS AND DEBTORS-IN-POSSESSION
                   who’s treated as unworthy, emo-        rpoppiti@ycst.com; (IV) counsel for the Committee, Pachulski Stang Ziehl & Jones LLP, 780 Third
                                                          Avenue, 34th Floor, New York, NY 10017, Attn: Robert J. Feinstein, Esq., Scott L. Hazan Esq., and
                                                                                                                                                                      1
                                                                                                                                                                          The Debtors and the last four digits of their respective federal taxpayer identiﬁcation numbers
                                                                                                                                                                      are as follows: Open Road Films, LLC (4435 Del.); Open Road Releasing, LLC (4736 Del.); OR
PETER IOVINO/HBO




                   tions Hervé kept bottled up until      Colin R. Robinson, Esq., Email: rfeinstein@pszjlaw.com, shazan@pszjlaw.com, and crobinson@                  Productions LLC (5873 Del.); Briarcliff LLC (7304 Del.); Open Road International LLC (4109 Del.);
                                                          pszjlaw.com; (V) counsel for the Agent, Paul Hastings LLP, 200 Park Avenue, New York, New York              and Empire Productions LLC (9375 Del.). The Debtors’ address is 2049 Century Park East, 4th
                   they exploded.                         10166, Attn: Andrew Tenzer, Esq., and Susan Williams, Esq., Email: andrewtenzer@paulhastings.               Floor, Los Angeles, CA 90067.
                                                          com and susanwilliams@paulhastings.com, and Ashby & Geddes, P.A., Attn: Bill Bowden, Esq.,
                       Dinklage, even before              Email: wbowden@ashbygeddes.com; (VI) counsel for the Stalking Horse Purchaser (if any); (VII)
                                                                                                                                                                      2
                                                                                                                                                                          Capitalized terms used but not otherwise deﬁned herein shall have the meaning ascribed to
                                                                                                                                                                      such terms in the Bid Procedures Order.
                   “Thrones,” has enjoyed bound-          counsel for certain guilds, Bush Gottlieb, a Law Corporation, 801 North Brand Boulevard, Suite 950,                                                                                                                   81
